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                                                                      Littler Mendelson, PC
                                                                      900 Third Avenue
                                                                      New York, NY 10022.3298




                                                                      Eli Z. Freedberg
                                                                      212.583.2685 direct
                                                                      212.583.9600 main
                                                                      212.954.5011 fax
                                                                      efreedberg@littler.com




November 15, 2021



VIA ECF

Honorable Ronnie Abrams
Thurgood Marshall
United States Courthouse
40 Foley Square
New York, NY 10007

Re:    Macuku et al. v. Mill-Run Tour, Inc., et al.
       No. 21-CV-2505

Dear Judge Abrams:

This firms represents Defendants Mill-Run Tours, Inc. and Issam Sawaya (the “Defendants”) in
the above-referenced Action. We write to request a 10-day deadline to submit the parties’
settlement agreement for Cheeks approval. Plaintiff does not object to the request and this is the
parties’ first request for an adjournment of this deadline. The adjournment will affect no other
deadlines in this Action.

We thank the Court for its attention to this matter.




                                                       Application granted. The parties are ordered to file the
Shareholder
                                                       settlement agreement for the Court's approval on or
Enclosures                                             before November 29, 2021.

                                                       SO ORDERED.



                                                       _________________
                                                       Hon. Ronnie Abrams
                                                       11/16/2021
